

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-71,864-02






EX PARTE KENDRICK EARL EDWARDS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. WR-71,864-02 IN THE 400TH DISTRICT COURT


FROM FORT BEND COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
robbery and sentenced to forty-five years' imprisonment.  His appeal was dismissed for want of
jurisdiction due to an untimely notice of appeal. Edwards v. State, No. 01-07-00822-CR (Tex.
App.-Houston [1st Dist.] no pet.). 

	Applicant contends that his trial counsel rendered ineffective assistance for, inter alia, failing
to exclude a biased juror, failure to advance a defense, preventing Applicant from testifying on his
own behalf, bolstering the credibility of the complainant in summation, failing to suppress evidence,
failure to object to hearsay, and failure to effectively cross-examine witnesses. 

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  It appears that
the trial court has signed an order designating issues and has issued a pending show cause order
against trial counsel. The trial court shall provide Applicant's trial counsel with the opportunity to
respond to Applicant's claims of ineffective assistance of counsel.  The trial court may use any
means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court
may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether the performance of Applicant's trial
attorney was deficient and, if so, whether counsel's deficient performance prejudiced Applicant.  The
trial court shall also make any other findings of fact and conclusions of law that it deems relevant
and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 



Filed: September 16, 2009

Do not publish


